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Tell me about: |

Jane Fonda

Personalities

Jane Fonda, Actor / Activist

e Born: 21 December 1937
e Birthplace: New York, New York
e Best Known As: Outspoken Oscar-winning actress and Ted Turner s ex-wife

The daughter of screen legend Henry Fonda (and the sister of actor Peter Fonda), Jane Fonda started in
the movies in the early 1960s, In the 1970s she was also famous as an outspoken opponent of U.S.
involvement in Vietnam. She made a highly publicized trip to Hanoi, denouncing U.S. soldiers and
earning the uncomplimentary nickname "Hanoi Jane" -- a stunt she never lived down. But she was also a
movie star, having gone from the sex kitten in 1968's Barbarella to Sab a reputation as a serious

books. Tn 1991 she married media mogul Ted Turner and retired from the movies. They separated in
2000 and Fonda filed for divorce in April of 2001. Her other films include The China Syndrome (1979,
with Jack Lemmon), 9 to 5 (1980, with Dolly Parton) and Stanley and Inis (1990, with Robert DeNiro).

FOUR GOOD LINKS

e E! Online: Jane Fonda

Fact sheet and personal profile; see "Stories" for archived news reports
« Jane Fonda

Reprinted biographical profile originally from The New York Times
« Hanoi'd With Jane

Trying to clear up the story about her involvement with the Viet Cong
e Fond of Jane

Lots of photos and pro-Jane opinions, plus a casual filmography

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Fonda, Jane, 1937-, American actress, b. New York City; daughter of Henry Fonda and sister of Peter
Fonda. First cast in pert and sexy roles, she later distinguished herself in dramatic parts, often as a tough
and disillusioned woman. Regarded as one of the best actresses of her generation, she is also a
committed feminist and has occasionally left acting to pursue a radical, later liberal, political agenda. In
1971 she made a controversial trip to North Vietnam during the Vietnarh War. In the 1980s and 90s she
promoted physical fitness through a series of popular books and videotapes, She won Academy Awards
for her roles in K/ute (1971) and Coming Home (1978). Her other films include Cat Ballou (1965),
Barefoot in the Park (1967), Barbarella (1968), They Shoot Horses Don't They? (1969), Julia (1977),
The China Syndrome (1979), On Golden Pond (1981), Agnes of God (1985), and Stanley and Iris
(1990). Previously wed to French director Roger Vadim and the American politician Tom Hayden, she
retired from acting in 1991 and married Ted Turner, from whom she is now separated.

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WordNet

Note: click on a word meaning below to see its connections and related words.
The noun Jane Fonda has one meaning:

Meaning #1: United States Film actress and daughter of Henry Fonda (bom in 1937)
Synonym: ‘Fonda

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Biography
Jane Fonda

Jane Seymour Fonda was born on 21 December 1937 in New York. She is the daughter of Henry
Fonda, with whom she co-starred in On Golden Pond (1981).

Like many famous actors, such as Marlon Brando and James Dean, Jane: Fonda studied at Lee
Strasberg's Actors Studio.

Jane Fonda made her film debut in Joshua Logan's 'Tall Story’ (1960) and then had several supporting
roles before. At the age of 25, she moved to France.

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There, Fonda met director Roger Vadim, former husband of Brigitte Batdot. They married in 1967, and
a year later she appeared in his film, Barbarella.

After remarrying Tom Hayden, she turned in some of her best screen performances, for example, in
"They Shoot Horses Don't They?! (1969), and 'Klute’ (1971), for which she received one of her two
Academy Awards (the other was for ‘Coming Home' (1978)).

Jane Fonda was a vigorous opponent of the U.S.A's involvement in Vietnam and in a 1972 visit to the
North Vietnamese capital, Hanoi, Fonda was pictured at an anti-aircraft battery. In the same year she
said: "I am not a do-gooder. I am a revolutionary. A revolutionary woman."

She was nicknamed ‘Hanoi Jane’ but recently expressed regret at her support for the Viet-Cong, saying,
“It hurt so many soldiers. It galvanised such hostility. It was the most horrible thing I could possibly
have done. It was just thoughtless." |
After her marriage to Hayden ended she married CNN magnate, Ted Tufner. But that too was to end in
divorce.

Turner, who once described Christianity as "a religion for losers" said, ih an interview with New Yorker
magazine, "She just came home and said: 'T've become a Christian.

In March 2004 Jane Fonda marked International Women's Day by staging a performance of 'The Vagina
Monologues' in India.

"Violence comes in many forms and affects women all over the world," Fonda said after the
performance."Behind the closed doors of my marriage, I would give up all my power. 1 would silence
my Own voice to be accepted ...My whole life was about pleasing my man."

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Wikipedia
Jane Fonda

Jane Seymour Fonda is an Academy Award winning American actress, model, writer, producer,
activist and philanthropist.

Biography

Born December 21, 1937, in New York City, to actor Henry Fonda and socialite Frances Seymour
Brokaw. She was named after Lady Jane Seymour, the third wife of King Henry VIII.

Jane's socialite mother (Henry Fonda's second of five wives), after voluntarily secking help at an
asylum, committed suicide by cutting her throat on October 1950, when Jane was 12 years old. Henry

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married actress Susan Blanchard (step-daughter of Oscar Hammerstein I, and eventual wife of Richard
Widmark) eight months later, and throughout their six-year marriage, Blanchard helped to raise Jane and
her brother, Peter.

Jane Fonda has been married three times:

e Her second husband (1973-1990) was author and politician Tom Hayden, by whom she has a son,
Troy Garity, and an adopted daughter.
e Her third husband (1991-2001) was American cable-television tyqoon Ted Turner.

She has also had romantic relationships with:

e Alexander "Sandy" Whitelaw, director; involved 1960
« Donald Sutherland, actor; costarred in Klute; together 1970s
e Barry Matalon, hairdresser; together 1990s

Family Members:

e Brother: Peter Fonda, actor, director, producer

e Daughter: Vanessa Vadim; born in 1968; father, Roger Vadim; naimed after Vanessa Redgrave

e Son: Troy Garity, actor; born in 1973; father Tom Hayden; named after a Vietnamese resistance
leader and given paternal grandmother's surname .

e Daughter: adopted with Tom Hayden

e Niece: Bridget Fonda, actor; born in 1964; daughter of Peter Fonda

Her nickname as a youth -- Lady Jane, a moniker she reportedly disliked. She traveled to Russia in '64
and was impressed by the people, who welcomed her warmly as Henry's daughter. In the mid-'60s she
bought a farm outside of Paris, she renovated it and did the garden herself. She visited Warhol's Factory
in '66. About her '71 Oscar triumph, her father Henry said: “How in hell would you like to have been in
this business as long as I and have one of your kids win an Oscar before you do?" Jane was on the cover
of Life magazine, March 29, 1968. Early in her career she was extremely critical of her father, but in
1980 she bought the play On Golden Pond so that she could get Henry to star in it, hopefully to win the
Oscar that had eluded him throughout his career. He won, and when she accepted the Oscar for him she
said it was "the happiest night of my life." Director Roger Vadim once said about her: "Living with Jane
was difficult in the beginning ... she had so many -- how do you say? -- Hachelor habits. Too much
organization. Time is her enemy. She cannot relax. Always there is something to do." Vadim also said
about her: "There is also in Jane a basic wish to carry things to the limit,"

Acting career

While growing up she had no acting ambitions, but she got interested in 1954 when she performed with
her dad in a charity performance of The Country Girl, at the Omaha Community Theatre. During that
show, she had to cry, and in order to coax the tears she reportedly had a stagehand smack her before she
walked on. She attended Vassar College in New York, was introduced to Lee Strasberg by her father in
1958, and joined his Actors Studio. She would later receive an Honorary Degree from Emerson College
in May, 2000.

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Her stage work in the late '50s led to her impressive film career that only gained momentum after the
‘60s. She averaged almost two movies a year throughout the decade, starting in '60 with Tall Story, in
which Jane recreated her Broadway role of a cheery college student opposite gangly Tony Perkins.
Period of Adjustment, in which she went blonde, and Walk on the Wild Side, with Jane as the young
temptress Kitty Twist, came in '62 along with a Golden Globe as Most Promising Newcomer, with
Sunday in New York following a year later. Critics were quickly impressed with her: In 1962, Newsday
called her “the loveliest and most gifted of all our new young actresses." Jane's big-screen breakthrough,
of course, was Cat Ballou ('65), in which she played the sweet title role that had been offered to Ann-
Margret but rejected. The rootin -tootin' Western got five Oscar nominations, was one of the year's top-
ten moneymakers, and made her a star at age 28. After Any Wednesday 'in '66 and Barefoot in the Park
with Robert Redford in '67 came the dazzling Barbarella in '68, which sé¢nt her sexpot image into orbit.
By contrast, the grim They Shoot Horses, Don't They? in '69 showcased! her serious acting talent,
bringing her the first of seven Oscar nominations. One more role for which she was supposedly first
choice, but she didn't take -- Rosemary in Rosemary's Baby, the part finally played by Mia Farrow.

She won the Academy Award for Best Actress in 1971 for K/ute and in 1978 for Coming Home, and
was nominated five more times.

Political activism

Fonda became involved in political activism during the time of the Vietnam War, Civil Rights Reforms
and significant rebellion against the "Establishment." Her activism and philanthropy in opposition to the
Vietnam War, made her infamous among pro-war and pro-military Americans.

Native American movement

Alcatraz Island Occupation - Early in the morning on November 20, 1969, 79 American Indians,
including students, married couples and six children, sailed to Alcatraz and began the 19-month
occupation of the island. Despite the Coast Guard's attempted blockade, the group disembarked
successfully. The government gave them 24 hours to leave, but the occupiers didn't budge. The group's
leader Richard Oakes phoned in a message to the San Francisco Department of the Interior office:

"We invite the United States to acknowledge the justice of our claim. The choice now lies with the
leaders of the American government - to use violence upon us as before to remove us from our
Great Spirit's land, or to institute a real change in its dealing with the American Indian, We do not
fear your threat to charge us with crimes on our land. We and all other oppressed peoples would
welcome spectacle of proof before the world of your title by geno¢ide. Nevertheless, we seek
peace."

The occupiers had strong support from the entertainment industry. Sports legend Jim Thorpe's (Sac and
Fox) daughter Grace, who occupied the island for several months, acted as a liaison to celebrities like
Jane Fonda, Marlon Brando, Jonathan Winters and Dick Gregory, who visited to show their solidarity
with the Indian occupation, (January, 1970)

The Black Panthers

Huey Newton and Black Panthers -- A quote from Jane Fonda in 1970: “Revolution is an act of love; we
are the children of revolution, born to be rebels. It runs in our blood." She called the Black Panthers “our
revolutionary vanguard. We must support them with love, money, propaganda and risk."

Opposition to the Vietnam War

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In April 1970, Fred Gardner, Fonda and Donald Sutherland formed *FTA* ("Free The Army," a play on
the troop expression "Fuck The Army"), an antiwar road show designed as an answer to Bob Hope's
USO tour. The tour, referred to as "political vaudeville" by Fonda, visited military towns along the West
Coast, with the goal of establishing a dialog with soldiers to get their thoughts on their upcoming
deployments (which were later made into a movie).

Also in 1970, Fonda spoke out against the war at a rally organized by Vietnam Veterans Against the
War, in Valley Forge, Pennsylvania. She offered to help raise funds for VVAW, and was bestowed the
title of Honorary National Coordinator for her efforts. Beginning November 3, she toured college
campuses and raised funds for the organization. As noted by the New Yark Times, Fonda was a "major
patron” of the VVAW.

In March 1971, Fonda traveled to Paris (some claim alone, some claim with an unnamed VVAW
representative) to meet with NLF foreign minister Madam Nguyen Thi Binh. According to a transcript
in which she was translated to Vietnamese and back to English, she told Binh at one point "Many of us
have seen evidence proving the Nixon administration has escalated the War causing death and
destruction perhaps as serious as the, bombing of Hiroshima." Afterwards, she travelled to London, A
speech that she gave in London was criticized for her discussion of the US use of torture in Vietnam.
Her financial support to VVAW at this time was apparently not significant, as within a month VVAW
was broke and one of its prominent leaders, John Kerry, raised the needed funds.

Sixteen months later, Fonda went on her well-known trip to Hanoi.

"Hanoi Jane"

a polarizing figure.

She became the target of hatred from many Americans because of her visit to Hanoi, where she
advocated opposition to the war. Her detractors labeled her Hanoi Jane, comparing her to war
propagandists Tokyo Rose and Hanoi Hannah. She has often been associated with contributing to a
perceived anti-soldier sentiment among Vietnam War protesters, such as spitting on soldiers. Because of
her actions, John Wayne cut off all contact with her, even though he was a close friend of her father's.

When Jane Fonda was honored by Barbara Walters in 1999 as one of the 100 great women of the
century, sentiments regarding Fonda's actions in Vietnam were rekindled. Rumors that Fonda handed
over information about U.S. soldiers to National Liberation Front (NLF) insurgents (better known in the
U.S. as the "Viet Cong") are provably untrue, as are reports that a pilot spat at Fonda and was beaten for
it and that one POW was beaten to death for refusing to meet with her. The latter story, though, may be
an exaggeration of the true account of Michael Benge, a civilian advisor captured by the NLF in 1968
and held as a POW for 5 years. He wrote "When Jane Fonda was in Hanoi, I was asked by the camp
communist political officer if! would be willing to meet with her. I said yes, for I would like to tell her
about the real treatment we POWs were receiving, which was far different from the treatment purported
by the North Vietnamese, and parroted by Jane Fonda, as ‘humane and lenient.' Because of this, I spent
three days on a rocky floor on my knees with outstretched arms with a piece of steel re-bar placed on my

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hands, and beaten with a bamboo cane every time my arms dipped." (1) [2]

Fonda posed for a picture at an anti-aircraft battery and
participated in several radio broadcasts. She also visited
American prisoners of war who assured her that they had
neither been tortured nor brainwashed. Fonda believed these
claims and relayed them to the American public. When cases
of torture began to emerge among POWs returning to the
United States, Fonda called them liars. She also added,
concerning the POWs she met, "These were not men who had
been tortured. These were not men who had been starved.
These were not men who had been brainwashed." Concerning
torture in general, Fonda told the New York Times in 1973,
"I'm quite sure that there were incidents of torture...but the
pilots who were saying it was the policy of the Vietnamese
and that it was systematic, I believe that's a lie.". Her stance
has some backing, as former vice presidential candidate and
POW James Stockdale wrote that no more than 10% of US
pilots in captivity received more than 90% of the torture,
usually for acts of resistance. Additionally, John Hubbel's
research into the conflict indicates that the majority (but
certainly not all) of the torture occurred before 1969 (Fonda's in Hanoi, 1971
visit was in 1973).

Jane Fonda

Fonda delivered home letters from many American POWs in Vietnam. She also is often credited with
publicly exposing the strategy of bombing the dikes in Vietnam, for which she was at the time called a
liar by then-UN ambassador George H. W. Bush. In 1988, Fonda apologized for her actions to the
American POWs and their families. She has also stated:

"I will go to my grave regretting the photograph of me in an anti-aircraft gun, which looks like I was
trying to shoot at American planes. It hurt so many soldiers. It galvanized such hostility. It was the most
horrible thing I could possibly have done. It was just thoughtless." .

In 2004, her name was used as a disparaging epithet against Kerry, the former VVAW leader, who was
then the Democratic Party presidential candidate. Republican National Committee Chairman Ed
Gillespie called Kerry a "Jane Fonda Democrat". In addition, Kerry's opponents circulated a photograph
showing Fonda and Kerry in the same large crowd at a 1970 anti-war rally, although they were sitting
several rows apart. [3] Some also circulated a faked composite photograph to give the false impression
that the two had shared a speaker's platform. [4]

Fonda funded and organized the Indochina Peace Campaign. It continued to mobilize antiwar activists
across the nation after the 1973 Paris Peace Agreement when most other’ antiwar organizations closed
down.

Slayings of women in Ciudad Judrez

Fonda led a march through Ciudad Juarez, urging Mexico to provide sufficient resources to newly
appointed officials helping investigate the slayings of hundreds of women in the rough border city.
(February 16, 2004)

Campaign against genital mutilation

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V-Day, a movement to stop violence against women, sparked by the off-Broadway hit The Vagina
Monologues, held its first summit Friday, bringing together Fonda, Afghan women and a Kenyan
campaigning to save girls from genital mutilation. (September 21, 2002)

Israeli-Palestinian conflict

Fonda continues to participate in peace activism, in particular regarding the Israeli-Palestinian conflict.
Fonda has been attacked by right wing Israelis during a trip to Jerusalem to promote world peace -- the
actress and activist was heckled, as she arrived for a meeting with leading Israeli feminists, for her
controversial stance during the Vietnam War; Fonda was dubbed Hanoi Jane for her peace protests
during the Vietnam War in the late 1960s and early 1970s. (December 21, 2002)

Opposition to Iraq War

Fonda fears the military campaign in Iraq will turn people all over the world against America ? She is
also concemed that a global hatred of America will result in more terrorist attacks in the aftermath of the
war. (April 11, 2003)

Later career

In the carly 1980s she reinvented herself as a health guru, setting up the Jane Fonda Workout studio in
Beverly Hills and creating best-selling books and tapes (her "Jane Fonda's Workout" is one of the best-
selling videos of all time). Leading the aerobics craze, she was particulatly noted in this regard for
popularising the phrase "go for the burn", for which she was criticised. While retired from acting in the
late '90s (she announced that she would never act again in April 2001), her latest endeavors have been
philanthropic. She works to prevent adolescent pregnancy, and in July of 2001 this item ran in the L.A.
Times:

"Atlanta's Emory University unveiled the Jane Fonda Center Thursday, using a $2-million donation
from the actress and former fitness guru to study adolescent reproductive health research, training and
program development. Fonda's gift will include an endowment to create a research position specializing
in teen sexuality and reproductive health. Earlier this year, Fonda gave $12.5 million to Harvard's
Graduate School of Education for a study of gender in education."

As with everything else she's ever done, she continues to pursue her passions with gusto and
commitment. In early 2004 she announced she'd return to acting after a fourteen-year absence. The
movie, Monster-in-Law, is a comedy in which she plays Jennifer Lopez's prospective mother-in-law.

Film awards and nominations

1961: Golden Globe; Most Promising Newcomer - Female

1970: Academy Award Nomination; Best Actress, They Shoot Hoxses, Don't They?
1971: Academy Award; Best Actress, Klute

1971: Golden Globe; Best Actress in a Motion Picture (Drama), Klute

1972: Golden Globe; World Film Favorite - Female .

1977: Golden Globe; Best Actress in a Motion Picture (Drama), Jijlia

1978: Academy Award Nomination; Best Actress, Julia

1978: Golden Globe; World Film Favorite - Female

1978: Golden Globe; Best Actress in a Motion Picture (Drama), Coming Home
1979: Academy Award; Best Actress, Coming Home

1980: Academy Award Nomination; Best Actress, The China Syndrome

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e 1982: Academy Award Nomination; Best Supporting Actress, On| Golden Pond

1983: Emmy; Outstanding Lead Actress in a Limited Series or a §

pecial, The Dalimaker
ter

1987: Academy Award Nomination; Best Actress, The Morning A

Filmography

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A Century of Women - Complete Series (1994)
Stanley & Iris (1990)

Old Gringo (1989)

The Morning After (1986)

Agnes of God (1985)

The Dolimaker (1984)

Lily, Sold Out

Rollover (1981)

On Golden Pond (1981)

The Ten Thousand Day War

No Nukes

Nine to Five (1980)

The Electric Horseman (1979)

The China Syndrome (1979)

Comes a Horseman (1978)

California Suite (1978)

Coming Home (1978)

A.F 1. Life Achievement Awards - Henry Fonda (1978)
Julia (1977)

Fun with Dick and Jane (1977)

AFL. Life Achievement Awards - Bette Davis (1977)
The Blue Bird (1976)

Sinyaya Ptitsa (1976)

A Doll's House

Final Crash (1973)

FTA, (1972)

Tout va bien

Klute (1971)

They Shoot Horses, Don't They? (1969)
Spirits of the Dead (1968)
Barbarella (1968)

Barefoot in the Park (1967)
Hurry Sundown (1967)

Any Wednesday (1966)

La Curée

The Chase (1966)

The Game is Over (1966)
Cat Ballou (1965)

La Ronde (1964}

Cirele of Love (1964)

Joy House (1964)

Les Félins

In the Cool of the Day (1963)
Sunday in New York (1963)

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Period of Adjustment (1962)

The Chapman Report (1962)

Walk on the Wild Side (1962)

Tall Story (1960)

Little Buddha

Hollywood Retrospectives - Fonda on Fonda
Dolly Parton in the Movies

External links

e Jane Fonda at the Internet Movie Database

e http://www.snopes.com/military/fonda.htm

e http://urbanlegends.about.com/library/weekly/aal 10399. htm?once =true&

e http://www.arabia.com/newsfeed/article/english/0,14183,354458,00.html

e "Jane in Jerusalem", commentary published in Jewish World Review, Dec. 23, 2002, which
describes how three Israeli "Women in Green" heckled Jane Fonda during her visit in Jerusalem.

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Some good "Jane Fonda" pages on the web:

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Mentioned In

jane fonda is mentioned in the following topics:

Vanessa Vadim The Morning After
Klute Barefoot in the Park
Coming Home They Shoot Horses, Don't They?
Julia (movie) on Golden Pond :
Bridget Fonda The China Syndrome

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